                                   IN THE UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF IOWA
                                                            WESTERN DIVISION
 UNITED STATES OF AMERICA,                                                          HEARING MINUTES Sealed: No
               Plaintiff,                                                     Case No.: 15-cr-4079-MWB
           vs.                                                          Presiding Judge: Mark W. Bennett
 DARRON FRANCIS MOTHERSHEAD,                                              Deputy Clerk: Jennifer Gill
               Defendant.                                               Court Reporter: Shelly Semmler           Contract? No
                                                                                                      (If yes, send copy to financial)
                                                                             Recording: Yes           Method: FTR Gold
  Date: 4/13/2016           Start: 10:03AM           Adjourn: 10:40AM                    Courtroom: Donald E. O’Brien Courtroom
    Recesses:                                                      Time in Chambers:                                Telephonic? --
    Appearances:        Plaintiff(s): AUSA Jamie Bowers
                      Defendant(s): Aaron Hamrock, defendant present
                    U.S. Probation:
                        Interpreter:                                  Language:                       Certified:           Phone
TYPE OF PROCEEDING:                    IS THE HEARING           Contested?        Yes   Continued from a previous date?     No
       SENTENCING:
                Objections to PSIR:                                                     Ruling:
                Motions to vary/depart:         Oral Motion to Vary Downward            Ruling:      Denied.
                Count(s) dismissed:
                Sentence (See J & C):           92 months
                    Fine:              Waived                   Special assessment:        $100
                    Supervised Release:         3 years
                    Court=s recommendations (if any):          Placement at a location as close to Sioux City as possible consistent
                                                               with defendant’s security and custody classification. 500-hour
                                                               comprehensive drug treatment program
                Defendant is           Detained                and shall report
                Witness/Exhibit List is
                The offering party must, within 3 days after the hearing, file in electronic form any exhibit that was not filed with a
                motion, resistance, or other filing related to this hearing. Pub. Admin. Order 09-AO-03-P (05/29/09), & 7.
                Miscellaneous:




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